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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                 4:14CR3011-2

      vs.
                                                   DETENTION ORDER PENDING TRIAL
DARIO CABALLERO-ARREDONDO,

                      Defendant.


       After affording the defendant an opportunity for a detention hearing under the Bail
Reform Act, 18 U.S.C. § 3142(f), for the reason’s set forth in the court’s prior order,
(14CR3012, filing no. 13), the defendant will remain detained pending trial.

                               Directions Regarding Detention

       The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable,
from persons awaiting or serving sentences or held in custody pending appeal. The
defendant must be afforded a reasonable opportunity to consult privately with defense
counsel. On order of United States Court or on request of an attorney for the
Government, the person in charge of the corrections facility must deliver the defendant to
the United States marshal for a court appearance.

       May 1, 2014.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
